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                                                                                                                 CO-386
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                                   United States District Court
                                   For the District of Columbia
                                                    )
BOULANGERIE CHRISTOPHE, LLC                         )
                                                    )
                                                    )
                                     Plaintiff      )        Civil Action No._______________________
                       vs
                                                    )
CHRISTOPHER ROUX                                    )
                                                    )
                                                    )
                                    Defendant       )


                                                 CERTIFICATE RULE LCvR .1

                                           Boulangerie Christophe, LLC
I, the undersigned, counsel of record for ____________________________________ certify that to the best of my knowledge and

                                                                           Boulangerie Christophe, LLC
belief, the following are parent companies, subsidiaries or affiliates of _______________________________________ which have

any outstanding securities in the hands of the public:

  NONE




These representations are made in order that judges of this court may determine the need for recusal.


                                                               Attorney of Record

                                                               _______________________________________
                                                               Signature

 353821
________________________________________                       Steven Gremminger
                                                               _______________________________________
BAR IDENTIFICATION NO.                                         Print Name

                                                               5335 Wisconsin Ave., N.W., Suite 440
                                                               _______________________________________
                                                               Address

                                                               Washington, DC 20015
                                                               _______________________________________
                                                               City          State        Zip Code

                                                               202.885.5526
                                                               _______________________________________
                                                               Phone Number
